                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                               3:03-CR-231-8-GCM

                                          )
UNITED STATES OF AMERICA                  )
                                          )
      v.                                  )     ORDER
                                          )
JOSE R. ALMONTE                           )
                                          )
                                          )
______________________________________________________________________________




               THIS MATTER is before the court upon the defendant’s Motion for

Reconsideration of this Court’s denial of defendant’s earlier “Motion to Verify Legal Status as a

U.S. National of United States,” filed on October 16, 2009. Pursuant to 8 U.S.C.A. § 1252(b)(5)

the exclusive venue for review of a citizenship claim is by direct petition for review to the Court

of Appeals. Therefore, this Court does not have the authority to grant the defendant’s motion.

       IT IS THEREFORE ORDERED that defendant’s motion is hereby DENIED.




                                                 Signed: January 29, 2010




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